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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

 ERIC BREINES AND ANDREW                           Case No.
 PERRONG, individually, and on behalf of all
 others similarly situated,                        CLASS ACTION

                Plaintiffs,                        DEMAND FOR JURY TRIAL

 v.

 PRO CUSTOM SOLAR LLC, D/B/A
 MOMENTUM SOLAR, a New Jersey
 company,

                Defendant.


                               CLASS ACTION COMPLAINT

       1.      Plaintiffs Eric Breines (“Mr. Breines”) and Andrew Perrong (“Mr. Perrong”),

bring this action under the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, a

federal statute enacted in response to widespread public outrage about the proliferation of

intrusive, nuisance telemarketing practices. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740,

745 (2012).

       2.      The Plaintiffs bring this Class Action Complaint and Demand for Jury Trial

against Defendant Pro Custom Solar, LLC d/b/a Momentum Solar (“Momentum Solar” or

“Defendant”) to stop Momentum Solar from violating the TCPA by making unsolicited,

autodialed and pre-recorded calls to consumers without their consent, including calls to

consumers registered on the National Do Not Call registry, and to otherwise obtain injunctive

and monetary relief for all persons injured by Momentum Solar’s conduct.

       3.      The Plaintiffs never consented to receive Momentum Solar’s calls, which were

placed to them for telemarketing purposes. Because telemarketing campaigns generally place

calls to hundreds of thousands or even millions of potential customers en masse, the Plaintiffs
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bring this action on behalf of proposed nationwide classes of other persons who received illegal

telemarketing calls from or on behalf of Defendant.

       4.      A class action is the best means of obtaining redress for the Defendant’s wide

scale illegal telemarketing and is consistent both with the private right of action afforded by the

TCPA and the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                             PARTIES

       5.      Plaintiff Breines is a Florida resident and a resident of this District.

       6.      Plaintiff Perrong is a Pennsylvania resident.

       7.      Defendant Pro Custom Solar LLC d/b/a Momentum Solar is a limited liability

company organized under the laws of the State of New Jersey. Pro Custom Solar LLC is also

registered to do business in the state of Florida, with a principal address in Orlando, FL and a

registered agent of Cogency Global, Inc., which is located at 115 N. Calhoun St., Suite 4 in

Tallahassee, FL.

                                 JURISDICTION AND VENUE

       8.      This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the TCPA, 47 U.S.C. § 227 (“TCPA”).

       9.      This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant is registered to do business in Florida and

because the wrongful conduct giving rise to this case was directed from/and or into this District.

                   THE TELEPHONE CONSUMER PROTECTION ACT

       10.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

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The TCPA Prohibits Automated Telemarketing Calls

        11.     The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice … to any telephone

number assigned to a … cellular telephone service.” See 47 U.S.C. § 227(b)(1)(A)(iii). The

TCPA provides a private cause of action to persons who receive calls in violation of 47 U.S.C.

§ 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

        12.     The TCPA also makes it unlawful “to initiate any telephone call to any residential

telephone line using an artificial or prerecorded voice to deliver a message without the prior

express consent of the called party”. See 47 U.S.C. § 227(b)(1)(B).

        13.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

        14.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 F.C.C. Rcd. 14014, 14115 ¶ 165 (2003).

        15.     In 2013, the FCC began requiring prior express written consent for all autodialed

or prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

Specifically, it ordered that:

        [A] consumer’s written consent to receive telemarketing robocalls must be signed
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       and be sufficient to show that the consumer: (1) received “clear and conspicuous
       disclosure” of the consequences of providing the requested consent, i.e., that the
       consumer will receive future calls that deliver prerecorded messages by or on
       behalf of a specific seller; and (2) having received this information, agrees
       unambiguously to receive such calls at a telephone number the consumer
       designates.[] In addition, the written agreement must be obtained “without
       requiring, directly or indirectly, that the agreement be executed as a condition of
       purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).


The Growing Problem of Automated Telemarketing

       16.    “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting Off Robocalls (July 22, 2016),

https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls (statement of FCC

chairman).

       17.    “The FTC receives more complaints about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer

Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016),

https://www.ftc.gov/system/files/documents/advocacy_documents/commentstaff-ftc-bureau-

consumer-protection-federal-communications-commission-

rulesregulations/160616robocallscomment.pdf.

       18.    In fiscal year 2017, the FTC received 4,501,967 complaints about robocalls,

compared with 3,401,614 in 2016. Federal Trade Commission, FTC Releases FY 2017 National

Do Not Call Registry Data Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-

events/press-releases/2017/12/ftc-releases-fy-2017-nationaldo-not-call-registry-data-book-dnc.




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       19.     The New York Times recently reported on the skyrocketing number of robocall

complaints and widespread outrage about illegal telemarketing. Tara Siegel Bernard, Yes, It’s

Bad. Robocalls, and Their Scams, Are Surging, N.Y. Times (May 6, 2018),

https://www.nytimes.com/2018/05/06/your-money/robocalls-riseillegal.html; see also Katherine

Bindley, Why Are There So Many Robocalls? Here’s What You Can Do About Them, Wall St. J.

(July 4, 2018), https://www.wsj.com/articles/why-there-are-so-manyrobocalls-heres-what-you-

can-do-about-them-1530610203.

       20.     Even more recently, a technology provider combating robocalls warned that

nearly half of all calls to cell phones next year will be fraudulent. Press Release, First Orion,

Nearly 50% of U.S. Mobile Traffic Will Be Scam Calls by 2019 (Sept. 12, 2018),

https://www.prnewswire.com/news-releases/nearly-50-of-us-mobile-traffic-will-be-scam-calls-

by-2019-300711028.html.

                               FACTUAL ALLEGATIONS

       21.     Momentum Solar sells and installs solar panels.

       22.     Momentum Solar uses telemarketing to promote its products.

       23.     Momentum Solar’s telemarketing efforts include the use of predictive dialers and

pre-recorded calls.

       24.     Recipients of these calls, including Plaintiffs, did not consent to receive them.

       25.     The Defendant used this equipment because it allows for thousands of automated

calls to be placed at one time, but its telemarketing representatives, who are paid by the hour,

only talk to individuals who pick up the telephone for autodialed calls or who respond to the

prerecorded voice call. Through this method, the Defendant shifts the burden of wasted time to

the consumers it calls with unsolicited messages.




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        Calls to Mr. Perrong

        26.     Plaintiff Perrong is a “person” as defined by 47 U.S.C. § 153(39).

        27.     Plaintiff Perrong’s telephone, (215) 322-XXXX, is a residential telephone line.

        28.     Plaintiff Perrong’s telephone, (215) 322-XXXX, was placed on the National Do

Not Call Registry for more than 30 days prior to the first call.

        29.     Plaintiff Perrong’s telephone, (215) 322-XXXX, is not associated with a business

and is for personal use.

        30.     On February 28, 2019, Mr. Perrong received a pre-recorded call from (215) 876-

1804.

        31.     This Caller ID number was “spoofed,” as that number is not in service.

        32.     In other words, the Defendant manipulated the dialing system to use a Caller ID

number that was local to the Plaintiff in hopes that he would answer.

        33.     Mr. Perrong answered the call.

        34.     Mr. Perrong heard a pre-recorded voice at the beginning of the call advertise solar

services.

        35.     Confirming the pre-recorded call, Momentum Solar followed up with Mr. Perrong

with a telemarketing call on March 11, 2019 based on the February 28, 2019 call.

        36.     Mr. Perrong confirmed the identity of the caller by engaging their services.

        37.     After Mr. Perrong had engaged the services of Momentum to confirm their

identity, he cancelled the appointment.

        38.     Mr. Perrong also sent an e-mail to Momentum asking them why he had been

contacted in the first place.

        39.     Despite this letter, Mr. Perrong received another 20 telemarketing calls from

Momentum after March 11, 2019.

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       40.     The calls to Mr. Perrong continue.

       Calls to Mr. Breines

       41.     Plaintiff Breines is a “person” as defined by 47 U.S.C. § 153(39).

       42.     Plaintiff Breines telephone number, (908) 310–XXXX is assigned to a cellular

telephone service.

       43.     Plaintiff Breines’ telephone, (908) 310-XXXX, was placed on the National Do

Not Call Registry for more than 30 days prior to the first call.

       44.     Plaintiff Breines’ telephone, (908) 310-XXXX, is owned by him as a personal cell

phone and he is the subscriber and customary user of that phone.

       45.     On November 30, 2018 Plaintiff Breines received an unsolicited telemarketing

call from (908) 905-0861.

       46.     Upon information and belief, that Caller ID number is “spoofed” and is not in

service. In other words, the Defendant manipulated the dialing system to use a Caller ID number

that was local to the Plaintiff in hopes that he would answer.

       47.     Mr. Breines answered the call.

       48.     Mr. Breines noted a significant pause before being connected to an agent.

       49.     Confirming the call, Momentum Solar followed up with Mr. Breines with many

calls and text message appointment reminders beginning on November 30, 2018.


Common Allegations

       50.     To the extent Defendant contends that they obtained consent or agreement from

Plaintiff and the class members for the calls at issue here, the Telemarketing Sales Rule, 16

C.F.R. § 310.5(a)(5), requires that such records be maintained.

       51.     In any event, consent is an affirmative defense under the TCPA, and is

unavailable unless Defendant can show that they had prior express consent in writing, and that
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they have otherwise complied with all of the requirements of 47 C.F.R. § 64.1200(c)(2),

including maintaining written procedures on national do-not-call rules, training personnel on

national do-not-call rules, maintaining an internal do-not-call list, and accessing the national do-

not-call database no more than 31 days prior to making any calls, and maintaining records

documenting such access.

       52.     Plaintiffs and the other call recipients were harmed by these calls. They were

temporarily deprived of legitimate use of their phones because the phone line was tied up during

the telemarketing calls and their privacy was improperly invaded. Moreover, these calls injured

Plaintiff and the other call recipients because they were frustrating, obnoxious, annoying, were a

nuisance and disturbed the solitude of Plaintiff and other class members.

                                    CLASS ALLEGATIONS

       53.     Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification of

the following Classes:

       Autodialed Class: All persons in the United States who from four years prior to
       the filing of this action: (1) Defendant (or an agent acting on behalf of Defendant)
       called, (2) using the same dialing equipment used to call Plaintiff Breines, (3) for
       substantially the same reason Defendant called Plaintiff Breines, and (4) for
       whom Defendant claims (a) it obtained prior express written consent in the same
       manner as Defendant claims it obtained prior express written consent to call
       Plaintiff Brienes, or (b) Defendant does not claim to have obtained prior express
       written consent.

       Pre-Recorded Call to Residential Line Class: All persons in the United States
       who from four years prior to the filing of this action: (1) Defendant (or an agent
       acting on behalf of Defendant) called (2) using a pre-recorded voice (3) for
       substantially the same reason Defendant called Plaintiff Perrong, and (4) for
       whom Defendant claims (a) it obtained prior express written consent in the same
       manner as Defendant claims it obtained prior express written consent to call the
       Plaintiff Perrong, or (b) Defendant does not claim to have obtained prior express
       written consent.




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The following individuals are excluded from the Classes: (1) any Judge or Magistrate presiding

over this action and members of their families; (2) Defendant, its subsidiaries, parents,

successors, predecessors, and any entity in which Defendant or its parents have a controlling

interest and their current or former employees, officers and directors; (3) Plaintiffs’ attorneys; (4)

persons who properly execute and file a timely request for exclusion from the Classes; (5) the

legal representatives, successors or assigns of any such excluded persons; and (6) persons whose

claims against Defendant have been fully and finally adjudicated and/or released. Plaintiffs

anticipate the need to amend the Class definitions following appropriate discovery.

       54.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable.

       55.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiffs and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

               (a) whether Defendant utilized an automatic telephone dialing system to make its
                   calls to Plaintiff Breines and the members of the Autodialed Class;

               (b) whether Defendant systematically made multiple telephone calls to Plaintiff
                   Perrong and members of the Pre-Recorded Call to Residential Line Class;

               (c) whether Defendant made calls to Plaintiff and members of the Classes without
                   first obtaining prior express written consent to make the calls;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA; and

               (e) whether members of the Classes are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       56.     Adequate Representation: Plaintiffs will fairly and adequately represent and

protect the interests of the Classes and has retained counsel competent and experienced in class

actions. Plaintiffs have no interests antagonistic to those of the Classes, and Defendant has no

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defenses unique to Plaintiffs. Plaintiffs and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiffs nor his counsel has any interest adverse to the Classes.

       57.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiffs’ challenge of those practices hinges on Defendant’s conduct with

respect to the Classes as wholes, not on facts or law applicable only to Plaintiffs. Additionally,

the damages suffered by individual members of the Classes will likely be small relative to the

burden and expense of individual prosecution of the complex litigation necessitated by

Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court.

                                   FIRST CAUSE OF ACTION
                              Telephone Consumer Protection Act
                                  (Violations of 47 U.S.C. § 227)
                     (On Behalf of Plaintiff Breines and the Autodialed Class)

       58.     Plaintiff Breines repeats and reallege paragraphs 1-4, 5, 7-25, 41-49 and 50-52 of

this Complaint and incorporates them by reference herein.

       59.     The foregoing acts and omissions of Momentum Solar and/or its affiliates, agents,

and/or other persons or entities acting on Momentum Solar’s behalf constitute numerous and

multiple violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency

purposes, with an autodialer to the Plaintiff’s cellular telephone.
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       60.     The Defendant’s violations were negligent, willful, or knowing.

       61.     As a result of Momentum Solar’s and/or its affiliates, agents, and/or other persons

or entities acting on Momentum Solar’s behalf’s violations of the TCPA, 47 U.S.C. § 227,

Plaintiff and members of the Class presumptively are entitled to an award of between $500 and

$1,500 in damages for each and every call made.

       62.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Momentum Solar and/or its affiliates, agents, and/or other persons or entities

acting on Momentum Solar’s behalf from making autodialed calls, except for emergency

purposes, to any cellular telephone number in the future.

                              SECOND CAUSE OF ACTION
                            Telephone Consumer Protection Act
                               (Violation of 47 U.S.C. § 227)
   (On Behalf of Plaintiff Perrong and the Pre-Recorded Call to Residential Line Class)

       63.     Plaintiff Perrong repeats and realleges the paragraphs 1-4, 6, 7-25, 26-40, 50-57

of this Complaint and incorporates them by reference herein.

       64.     The TCPA also makes it unlawful to make or initiate a call “using an artificial or

prerecorded voice “without the prior express consent of the called party”. See 47 U.S.C. §§

227(b)(1)(A), (B).

       65.     The Defendant’s violations were negligent, willful, or knowing.

       66.     As a result of Momentum Solar’s and/or its affiliates, agents, and/or other persons

or entities acting on Momentum Solar’s behalf’s violations of the TCPA, 47 U.S.C. § 227(b)(1),

Plaintiff and members of the Class presumptively are entitled to an award of between $500 and

$1,500 in damages for each and every call made.

       67.     Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Momentum Solar and/or its affiliates, agents, and/or other persons or entities



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acting on Momentum Solar’s behalf from making pre-recorded telemarketing calls, except for

emergency purposes, to any residential telephone number in the future.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the Classes, prays for the

following relief:

       A.      Certification of the proposed Classes;

       B.      Appointment of Plaintiffs as representatives of the Classes;

       C.      Appointment of the undersigned counsel as counsel for the Classes;

       D.      A declaration that Defendant and/or its affiliates, agents, and/or other related

entities’ actions complained of herein violate the TCPA;

       E.      An order enjoining Defendant and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf from making unsolicited autodialed calls, except for

emergency purposes, to any cellular telephone number, pre-recorded voice calls, and other calls

to consumers whose telephone numbers are registered on the Registry in the future.

       F.      An award to Plaintiffs and the Classes of damages, as allowed by law;

       G.      Leave to amend this Complaint to conform to the evidence presented at trial; and

       H.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.


                                          JURY DEMAND

       Plaintiff requests a jury trial.




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                                   Respectfully Submitted,

                                   ERIC (RIC) BREINES AND ANDREW
                                   PERRONG, individually and on behalf of those
                                   similarly situated individuals

Dated: March 27, 2019               /s/ Avi Kaufman
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